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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         OCALA DIVISION

UNITED STATES OF AMERICA

VS.                                                     CASE NO: 5:12-cr-42-Oc-22PRL

CARLOS SOLARES


          ACCEPTANCE OF GUILTY PLEA AND ADJUDICATION OF GUILT
        Pursuant to the Report and Recommendation of the United States Magistrate Judge,

(Doc. No. 118), to which there has been no Notice of Objection filed by the Government nor the

Defendant, the plea of guilty of the defendant to Count One of the Second Superseding

Indictment is now accepted and the defendant is adjudged guilty of such offense. A sentencing

has been scheduled by separate notice.

        DONE and ORDERED at Orlando, Florida this 12th day of February, 2013.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Pretrial Services
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